16 F.3d 409NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Berlin FUTRELL, Plaintiff Appellant,v.W. A. BOST, Jail Administrator, Lexington County Jail;Lexington County Jail, Defendants Appellees.
    No. 93-6893.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 20, 1994.Decided:  Feb. 4, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Florence.  David C. Norton, District Judge.  (CA-368-18-AK)
      Berlin Futrell, Appellant Pro Se.
      Wilburn Brewer, Jr., Thomas C.R. Legare, Jr., Nexsen, Pruet, Jacobs &amp; Pollard, Columbia, South Carolina, for Appellees.
      D.S.C.
      AFFIRMED.
      Before WIDENER, WILKINS, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Futrell v. Bost, No. CA-93-368-18-AK (D.S.C. Aug. 17, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    